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                  EXHIBIT 3
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                                             PAGES 1 - 9

                    UNITED STATES DISTRICT COURT

                   NORTHERN DISTRICT OF CALIFORNIA

               BEFORE THE HONORABLE JOSEPH C. SPERO

DALI WIRELESS, INC.,               )
                                   )
             PLAINTIFF,            )
                                   )
  VS.                              )        CASE NO. 20-CV-06469
                                   )
CORNING OPTICAL COMMUNICATIONS,    )
LLC.,                              )
                                   )        SAN FRANCISCO, CALIFORNIA
             DEFENDANT.            )        FRIDAY, MARCH 4, 2022
                                   )
___________________________________)




  TRANSCRIPT OF PROCEEDINGS OF THE OFFICIAL ELECTRONIC SOUND

                 RECORDING    2:35 P.M. - 2:45 P.M.

APPEARANCES:

FOR PLAINTIFF               FOLIO LAW GROUP PLLC
                            1200 WESTLAKE AVE. N., SUITE 809
                            SEATTLE, WASHINGTON 98109
                      BY:   STEFAN J. SZPAJDA, ESQUIRE



FOR DEFENDANT               ALSTON & BIRD
                            1950 UNIVERSITY AVENUE, SUITE 430
                            EAST PALO ALTO, CA 94304
                      BY:   MICHAEL J. NEWTON, ESQUIRE
                            ROSS BARTON, ESQUIRE
                            YURI MIKULKA, ESQUIRE



TRANSCRIBED BY:     JOAN MARIE COLUMBINI, CSR #5435, RPR
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1    FRIDAY, MARCH 4, 2022                                           2:35 P.M.

2    (TRANSCRIBER'S NOTE: DUE AT TIMES TO COUNSELS' FAILURE TO

3    IDENTIFY THEMSELVES WHEN SPEAKING, CERTAIN SPEAKER

4    ATTRIBUTIONS ARE BASED ON EDUCATED GUESS.)

5                                   ---O0O---

6                    ELECTRONICALLY RECORDED PROCEEDINGS

7                THE CLERK:    WE ARE CALLING CASE 20-CV-6469, DALI

8    WIRELESS V. CORNING OPTICAL COMMUNICATIONS.          COUNSEL COULD YOU

9    PLEASE RAISE YOUR HANDS?      GREAT.    THANK YOU.    OKAY.   DID I GET

10   EVERYBODY?    OKAY.   ALL RIGHT.

11               GOOD AFTERNOON.    APPEARANCES, PLEASE, FIRST STARTING

12   WITH THE PLAINTIFF AND THEN THE DEFENDANT.

13               MR. SZPAJDA:    GOOD AFTERNOON.     MY NAME IS STEFAN

14   SZPAJDA.    I'M HERE FOR DALI WIRELESS.

15               MR. NEWTON:    GOOD AFTERNOON, YOUR HONOR.        MIKE NEWTON

16   FROM ALSTON & BIRD.      WITH ME ARE MY PARTNERS, YURI MIKULKA AND

17   ROSS BARTON, AND WE'RE HERE ON BEHALF OF CORNING.

18               MS. MIKULKA:    GOOD AFTERNOON, YOUR HONOR.

19               THE COURT:    GOOD AFTERNOON, EVERYONE.

20               SO, THE -- WE'RE DOING DOCKET 125.        LET ME JUST GET

21   THAT UP IN FRONT OF ME, GET THE ACTUAL DOCUMENT OUT, BECAUSE --

22   AND IN 125 IS A -- IS AN ISSUE IN WHICH THE PLAINTIFF IS

23   SEEKING TO COMPEL CERTAIN THINGS FROM THE DEFENDANT.

24               A COUPLE OF THINGS THAT I WANT TO TELL YOU ABOUT

25   SINCE THIS IS MY FIRST CHANCE TO REACH YOU ALL IN A DISCOVERY



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1    DISPUTE.    DON'T DO IT AGAIN.     THAT'S THE FIRST THING I WOULD

2    SAY TO YOU.

3                I TAKE A VERY PARTICULAR ATTITUDE TOWARDS DISCOVERY

4    DISPUTES, ESPECIALLY IN PATENT CASES, AND THAT IS THIS:             IT'S

5    YOUR PROBLEM, NOT THE COURT'S.       THE FEDERAL RULES OF CIVIL

6    PROCEDURE PLACE ON COUNSEL THE BURDEN IN THE FIRST INSTANCE OF

7    RESOLVING DISCOVERY DISPUTES.       THEY DON'T WORK IF YOU SHOVE IT

8    BACK ON THE COURT.

9                IF WE HAVE THESE KINDS OF DISCOVERY DISPUTES THAT YOU

10   HAVE IN THIS CASE SO FAR IN EVERY CASE THAT WE HAD, WE WOULD DO

11   NOTHING BUT DISCOVERY DISPUTES.       NO JUDGE IN THE COURTHOUSE

12   WOULD BE DOING ANYTHING OTHER THAN DISCOVERY DISPUTES.              SO I

13   PUSH BACK.

14               WE'RE GOING TO DO A NOTICE OF REFERENCE, AND MAYBE

15   WE'VE ALREADY DONE THE NOTICE OF REFERENCE, ACTUALLY.           AND SO

16   YOU KNOW I'M VERY SERIOUS ABOUT IT.        AND IF I HAVE TO DRAG YOUR

17   CLIENTS IN HERE AND HAVE THEM EXPOSED TO THE RIDICULOUS

18   MACHINATIONS THAT GO ON -- UNLESS THEY'RE THE PROBLEM, WHICH IT

19   SOMETIMES IS -- I WILL DO THAT.

20               SO I EXPECT YOU TO WORK EVERYTHING OUT.        I'M GOING TO

21   RULE ON THESE TWO THINGS BECAUSE I THINK THEY'RE EXTREMELY

22   SIMPLE, AND YOU HAVE CLEARLY RULED ON -- YOU SHOULD HAVE

23   CLEARLY WORKED THESE OUT, NO QUESTION ABOUT IT.

24               BUT I'M GOING TO RULE ON THOSE, AND THEN YOU CAN

25   PROCEED, BUT I -- I CAUTION YOU, DON'T BRING THINGS THAT ARE



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1    THIS, YOU KNOW, MINOR IN THE SCHEME OF THINGS.          THEY'RE NOT

2    BURDENSOME.    THEY DON'T SHOW TOO MUCH IN TERMS OF CONFIDENTIAL

3    INFORMATION.    THERE'S NO REASON TO BE FIGHTING TOOTH AND NAIL

4    OVER THIS STUFF, FROM A PRACTICAL POINT OF VIEW.          IF I FIND

5    PEOPLE BEING IMPRACTICABLE, I WILL SANCTION THEM.

6                SO, INTERROGATORY WHERE ALL PRIOR ART DISCOVERY AND

7    PRIOR ART SEARCHES THAT DISCOVERED THE PATENTS IN SUIT, DENIED.

8    I'M NOT GOING TO ALLOW THAT.       THE PRIOR ART THAT WAS DISCOVERED

9    THAT IS RELEVANT IS THE PATENT.       IT IS NOT THE OTHER THINGS, SO

10   I'M NOT GOING TO ALLOW THAT.

11               ON THE 30(B)(6) ON THE CIRCUMSTANCES OF DISCOVERY OF

12   THE PATENT IN SUIT, WHAT I UNDERSTAND YOU KNOW SO FAR, THERE'S

13   BEEN TESTIMONY, THAT THE PATENT WAS DISCOVERED DURING A PRIOR

14   ART SEARCH, THAT THE PRIOR ART SEARCH WAS BEFORE THE

15   SPIDERCLOUD ACQUISITION, THAT THE SEARCH WAS (INDISCERNIBLE)

16   ACCORDINGLY FOR THE PRODUCTS AT ISSUE, THAT THE ONLY REASON,

17   ACTUALLY, WE KNOW ANYTHING ABOUT THE DATE IS FROM -- BECAUSE

18   THIS PRIOR ART SEARCH IS APPARENTLY CONTAINED IN A DOCUMENT OF

19   SOME SORT, AND THERE'S META DATA WHICH GIVES THE DATE.

20               WHAT MORE DO YOU NEED, AND WHY IS IT RELEVANT TO

21   WILLFULNESS IN TERMS OF THE CIRCUMSTANCES IN WHICH THEY FOUND

22   THIS PRIOR ART?

23               MR. SZPAJDA:    THANK YOU, YOUR HONOR.      I'LL INTERPRET

24   YOUR QUESTION AS DIRECTED AT ME; IS THAT CORRECT?

25               THE COURT:    THAT'S A FAIR, FAIR INTERPRETATION.



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1    GREAT.

2                MR. SZPAJDA:    THANK YOU.

3                THE COURT:    SOMETIMES I'M NOT EVEN THAT CLEAR, SO I

4    APPRECIATE THE CLARIFICATION.

5                MR. SZPAJDA:    THAT'S GREAT.

6                WELL, I DID WANT TO CORRECT OR AT LEAST ADDRESS ONE

7    PREMISE IN THE RUNUP TO YOUR HONOR'S QUESTION, WHICH IS THE

8    ACCUSATION OF SPIDERCLOUD.

9                IT IS TRUE THAT THE ACQUISITION CLOSED IN JULY OF

10   2017, BUT I HAVE SOME EXHIBITS THAT WERE USED DURING THE

11   DEPOSITION IN THIS CASE THAT SHOW THAT THE DUE DILIGENCE FOR

12   THE ACQUISITION ACTUALLY BEGAN IN MAY AND JUNE OF 2016, RIGHT

13   AROUND THE TIME OF THE DISCOVERY OF THE RELEVANT PATENT.             AND

14   SO OUR VIEW IS THERE'S CIRCUMSTANTIAL EVIDENCE THAT THIS PATENT

15   SEARCH WAS DONE IN CONNECTION WITH THAT DUE DILIGENCE.              AND SO

16   UNDER THE --

17               THE COURT:    THEY TOLD US THAT IT'S NOT FOR THE

18   SPIDERCLOUD PRODUCTS.      THEY'VE SAID THAT.

19               MR. SZPAJDA:    YES, YOUR HONOR, THEY HAVE SAID THAT;

20   HOWEVER, IT'S SORT OF A SWORD-SHIELD PROBLEM.          WHAT THEY HAVE

21   SAID IS, WE'RE GOING TO TELL YOU SOMETHING THAT'S A LITTLE BIT

22   OF INFORMATION, AND IT'S EXTREMELY SELF-SERVING, WE'RE GOING TO

23   TELL YOU IT'S IRRELEVANT, BUT THEN WE'RE GOING TO OBJECT ON

24   PRIVILEGE GROUNDS AND INSTRUCT NOT TO ANSWER ON WHAT THE ACTUAL

25   CIRCUMSTANCE WERE, AND THAT PUTS DALI AT A SIGNIFICANT



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1    DISADVANTAGE IN THE TOTALITY OF CIRCUMSTANCES THAT ARE RELEVANT

2    IN A --

3                THE COURT:    YOU KNOW, YOU'RE JUST -- YOU'RE JUST

4    MOUTHING A DEBATER'S POINTS THAT DON'T MAKE ANY SENSE TO ME.

5                FIRST OF ALL, WE KNOW THERE WAS A PRIOR ART SEARCH,

6    RIGHT?    WE KNOW THERE WAS A PRIOR ART SEARCH.        AND WE KNOW THE

7    DATE IT WAS DONE, AND WE KNOW THAT IT WAS DONE IN CONNECTION

8    WITH SOMETHING, RIGHT?      AND WE KNOW BY REPRESENTATION -- AND I

9    SUPPOSE YOU COULD GET IT UNDER OATH -- THAT IT WAS DONE NOT IN

10   CONNECTION WITH ANY SPIDERCLOUD PRODUCTS.

11               WHAT MORE DO YOU NEED BEYOND THAT?

12               MR. SZPAJDA:    YOUR HONOR, I KNOW THAT'S A TOTALITY OF

13   THE CIRCUMSTANCES.     IF, FOR EXAMPLE, CORNING WAS EVALUATING THE

14   GENERAL FIELD IN WHICH DALI AND SPIDERCLOUD WERE COMPETING,

15   THAT WOULD BE RELEVANT TO THEIR SUBJECTIVE STATE OF MIND IN THE

16   CONTEXT OF WILLFULNESS, BECAUSE THEY COULD HAVE BEEN LOOKING AT

17   A FREEDOM TO OPERATE SITUATION WHERE THEY WANTED TO KNOW, CAN

18   WE ENTER THE SPACE.

19               MAYBE IT WASN'T SPECIFICALLY DIRECTED AT THE ACCUSED

20   PRODUCT IN THIS CASE, BUT IF IT'S THE FIELD IN WHICH THE

21   PRODUCT COMPETES, THAT'S HIGHLY RELEVANT TO THE PROCESS THEY

22   WERE GOING THROUGH AT THE TIME TO FIGURE OUT WHETHER --

23               THE COURT:    WALK THAT THROUGH WITH ME.      SO YOU GET

24   THAT, AND IT TURNS OUT THAT THEY WANT TO UNDERSTAND THE FIELD.

25   THEY WANT TO UNDERSTAND THE FIELD.        DOES THAT SHOW THAT THEY'RE



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1    NOT WILLFUL?    I MEAN, HOW DOES IT HELP YOU?

2                MR. SZPAJDA:    IT HELPS US, YOUR HONOR, BECAUSE WHAT

3    WE'VE SEEN -- AND I HAVE SOME SLIDES THAT I PREPARED THAT

4    HIGHLIGHT THIS TESTIMONY.

5                WHAT WE'VE SEEN IS THAT THEY FOUND THE PATENT, AND

6    THEN THEY DECIDED TO ACQUIRE THE COMPANY AND DECIDED NOT TO DO

7    ANY KIND OF A CLAIM ANALYSIS AFTER HAVING FOUND THE PATENT.

8    THEY BASED THEIR ANALYSIS ON THE TITLE OF THE PATENT, WHICH IS

9    NOT A PROPER ANALYSIS FOR THE PURPOSES OF DISCOVERING FREEDOM

10   TO OPERATE.

11               AND SO IF WE COULD SHOW THAT THEY WERE ANALYZING A

12   WHOLE SPECTRUM OF PATENTS IN THIS FIELD AND MAKING A RECKLESS

13   DECISION NOT TO ACTUALLY PERFORM A PROPER CLAIM CONSTRUCTION

14   ANALYSIS UNDER THOSE CIRCUMSTANCES, THAT WOULD BE A VERY STRONG

15   INDICATION --

16               THE COURT:    WHY -- WHY DO YOU NEED THE FORMER TO DO

17   THE LATTER?    WHY DO YOU NEED THAT THEY WERE DOING A GENERAL

18   EXAMINATION OF THE FIELD TO SHOW THEY WERE RECKLESS AND NOT

19   DOING AN ANALYSIS, A CLAIM ANALYSIS, OF THE PRODUCT THEY

20   WERE -- IT'S -- I DON'T UNDERSTAND THAT.

21               MR. SZPAJDA:    THANK YOU, YOUR HONOR.      I THINK THE

22   ANSWER IS THERE IS, BECAUSE IT'S A SUBJECTIVE TEST, IT'S A

23   SUBJECTIVE INTENT, AND WE'RE LOOKING AT THE TOTALITY OF THE

24   CIRCUMSTANCES.     UNDER THOSE CIRCUMSTANCES, EVERY FACT IS

25   RELEVANT, AND IT'S NOT PRIVILEGED.        THERE'S NO PRIVILEGE --



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1                (SIMULTANEOUS COLLOQUY.)

2                THE COURT:    (INDISCERNIBLE) ABOUT PRIVILEGE.          WE'RE

3    NOT GETTING INTO PRIVILEGE YET BECAUSE YOU HAVEN'T DONE THE

4    BASIC SHOWING.      EVERY FACT IS NOT RELEVANT.     TOTALITY OF THE

5    CIRCUMSTANCES IS A WAY THAT JUDGES SAY, WELL, I'LL TAKE INTO

6    ACCOUNT WHATEVER I THINK I OUGHT TO TAKE INTO ACCOUNT.              IT

7    DOESN'T MEAN THAT EVERY FACT IS RELEVANT.

8                YOU KNOW, IF THE CEO OF SPIDERCLOUD WENT TO A BAR

9    MITZVAH ON THAT DAY, THAT'S NOT RELEVANT.         SO I'M NOT

10   INTERESTED IN THAT SORT OF THING.        I'M ASKING A VERY SPECIFIC

11   THING.

12               MR. SZPAJDA:    I'M SORRY, YOUR HONOR.

13               THE COURT:    GO AHEAD.

14               MR. SZPAJDA:    THE OTHER REASON IT'S RELEVANT IS THEY

15   ACTUALLY MOVED TO DISMISS THE WILLFULNESS ALLEGATIONS, WHICH IS

16   REALLY THE ONLY ARGUMENT THEY MAKE ON THE RELEVANCE POINT.

17   THEY'RE SAYING DALI LACKS SO MANY FACTS -- LACKS FACTS, AND,

18   THEREFORE, WE GET TO DISMISS THIS ON RULE 12(C), EVEN THOUGH

19   WE'RE CURRENTLY MONTHS PAST THE CLOSE OF DISCOVERY AND WE HAVE

20   MOUNTAINS OF EVIDENCE THAT THEY WERE RECKLESS.

21               SO EVERY FACT IS GOING TO MATTER WHEN WE MARSHAL OUR

22   EVIDENCE HERE TO SHOW THE COURT WHY IT SHOULD NOT DISMISS.

23               THE COURT:    THAT SOUNDS LIKE A MAN WHO IS DESPERATE.

24               OKAY.    MOTION IS DENIED AS TO ALL OF THESE -- THE

25   MOTION TO COMPEL CORNING IS DENIED.



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1                SO LET'S NOT GO THROUGH THIS AGAIN.        AND DON'T -- YOU

2     KNOW, CORNING WON THIS ROUND, BUT DON'T TAKE THAT TO HEART.         IF

3     I FOUND YOU TAKING WHAT I THINK IS AN UNREASONABLE POSITION, I

4     WOULD FIND IT UNREASONABLE.

5                SO THIS ONE, THERE WERE COMPROMISES THAT SHOULD HAVE

6     BEEN REACHED.    I THINK IT WAS INAPPROPRIATE FOR YOU NOT TO

7     COMPROMISE ON THIS ONE.

8                PRESSED TO THE WALL AND HAVING TO RULE ON IT, I'LL

9     RULE ON IT, BUT I WILL HOLD IT AGAINST YOU THAT YOU DIDN'T

10    COMPROMISE.    THERE'S NO QUESTION.

11               I THINK ABOUT THIS, AND I THINK THEY COMPROMISED THIS

12    WAY, OR THEY SHOULD HAVE COMPROMISED THIS WAY, THESE PEOPLE ARE

13    UNREASONABLE, OR THEIR CLIENTS ARE UNREASONABLE, ONE OF THE

14    TWO.   IT MAY BE THAT YOU ARE VERY REASONABLE AND YOUR CLIENTS

15    AREN'T REASONABLE.     SOMETIMES IT'S THE CASE.      BUT -- SO I JUST

16    CAUTION YOU.

17               OKAY.   MOTION IS DENIED.     THANK YOU, VERY MUCH.

18               MR. SZPAJDA:    THANK YOU, YOUR HONOR.

19               MR. NEWTON:    THANK YOU, YOUR HONOR.

20               MS. MIKULKA:    THANK YOU, YOUR HONOR.

21               (PROCEEDINGS ADJOURNED AT 2:45 P.M.)

22

23

24

25



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1                          CERTIFICATE OF TRANSCRIBER

2

3          I CERTIFY THAT THE FOREGOING IS A TRUE AND CORRECT

4     TRANSCRIPT, TO THE BEST OF MY ABILITY, OF THE ABOVE PAGES OF

5     THE OFFICIAL ELECTRONIC SOUND RECORDING PROVIDED TO ME BY THE

6     U.S. DISTRICT COURT, NORTHERN DISTRICT OF CALIFORNIA, OF THE

7     PROCEEDINGS TAKEN ON THE DATE AND TIME PREVIOUSLY STATED IN THE

8     ABOVE MATTER.

9          I FURTHER CERTIFY THAT I AM NEITHER COUNSEL FOR,

10    RELATED TO, NOR EMPLOYED BY ANY OF THE PARTIES TO THE ACTION IN

11    WHICH THIS HEARING WAS TAKEN; AND, FURTHER, THAT I AM NOT

12    FINANCIALLY NOR OTHERWISE INTERESTED IN THE OUTCOME OF THE

13    ACTION.

14

15

16                             JOAN MARIE COLUMBINI

17                               MARCH 11, 2022

18

19

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21

22

23

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25



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